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lN THE UNITE.D STATES DISTRIC'I` COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA ) Criminal No. 5:18-CR-68 (GTS)
)
v. ) Plea Agreement
)
JOSE ORTIZ, )
)
)
Defendant. )

The United States of America, by and through its counsel of record, the United States
Attorney for the Northern District ol` New York, and defendant Jose Ortiz (hereinal`ter “the
defendant"'), by and through the defendant’s counsel of record, hereby enter into the following plea
agreement pursuant to Rule | |(c)(l)(A) ol` the Federa| Rules ol`Criminal Procedure:

|) The Defendant’s Obligations:

a) Guilty Plea: The defendant will change the defendant’s previously-entered plea of “not
guilty" and plead guilty to Count l of the indictment in Case No. 5:|8-CR-68 (GTS)
charging possession with intent to distribute, in violation of 21 U.S.C. §84l(a)(l) and
(b)(l)(B)-

b) Special Assessment: The defendant will pay an assessment of $|00 per count of
conviction pursuant to 18 U.S.C. § 3013. The defendant agrees to deliver a check or money
order to the Clerk of the Court in the amount of$lOO, payable to the U.S. District Court,
at the time of sentencing

c) Compliance with Other 'I`erms of Agreement: The defendant will comply in a timely
manner with all of` the terms of this plea agreement.

2) The Government’s Obligations:

a)

b)

3)

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Non-prosecution for other offenses: For so long as the dcfcndant’s guilty plea and the
sentence remain in effect, the government will not seek other federal criminal charges
against the defendant based on conduct described in the indictment in Case No 5:18-CR-
68 (GTS) and/or in the paragraph of this agreement entitled “Factual Basis for Guilty Plea,”
occurring before the date on which the defendant signs this agreement This agreement
does not prevent the government from seeking charges based on other conduct.
Compliance with Other Terms of Agreement: The government will comply in a timely
manner with all of the terms of this plea agreement.

Potential Maximum Penalties: The defendant understands that the Court can impose the

following maximum penalties for the offense to which the defendant agrees to plead guilty and

may be required to impose mandatory minimum terms of imprisonment, all as set out below:

a)
b)

c)
d)

Maximum term of imprisonment: Life, pursuant to 21 U.S.C. § 84l(b)(l)(B).
.\'landatory minimum term of imprisonment: 10 years, pursuant to 21 U.S.C. §
84l(b)(l)(B).

Maximum fines $8,000,000, pursuant to 2| U.S.C. § 84l(b)(l)(B).

Supervised release term: ln addition to imposing any other penalty, the sentencing court
must require the defendant to serve a term of supervised release between 8 years and life,
to begin after imprisonment See 21 U.S.C. § 84l(b)(l)(B). A violation of the conditions
of supervised release during that time period may result in the defendant being sentenced
to an additional term of imprisonment of up to 5 years.

Other adverse consequences: Other adverse consequences may result from the

dcfendant's guilty plea as further described in paragraph F below.

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4) Elements of Offense: The defendant understands that the following are the elements of
the offense to which the defendant agrees to plead guilty. The defendant admits that the
defendant’s conduct satisfies each and every one of these elements.
a) First, the defendant knowingly and intentionally possessed a controlled substance;
b) Second, the defendant possessed the controlled substance with the intent to distribute it;
c) Third, the controlled substance the defendant possessed was five hundred (500) grams or
more of cocaine, a Schedule II controlled substance; and
d) Fourth, the defendant was previously convicted of a felony drug offense.
5) Factual Basis for Guilg Plea: The defendant admits the following facts, that those facts
demonstrate the defendant’s guilt for the offense to which the defendant is pleading guilty, and
that there are no facts establishing a viable defense to that offense:
a) On February 2, 2018, the defendant, transported, in a vehicle he had rented, approximately
2.l kilograms of cocaine from the New York City area to the Syracuse, New York area.
b) The defendant had secreted the cocaine, packaged into two (2) brick shapes, inside a black
backpack in the trunk area of his vehicle.
c) The defendant admits that he intended to distribute the two kilograms of cocaine to others
in the Syracuse area.
d) The defendant further admits that he had previously transported large quantities of cocaine
(a kilogram or more at a time), which he obtained from his source of supply in the New
York City area, to customers/re~distributors in the Syracuse area.
e) The source of supply provided the cocaine to the defendant on consignment. The defendant

sold the cocaine to his Syracuse~based customer/re-distributors and, subsequently,

6)

g)

a)

b)

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provided the drug proceeds back to his source of supply for the cocaine the source had
“fronted (i.e. provided on consignment).

On November l7, 2004, the defendant was convicted of Criminal Possession of a
Controlled Substancc in the Fihh Degree, in violation of New York State Penal Law
Section 220.06(5), and on that date was sentenced to an indeterminate term of incarceration
of between thirty months and live years. This conviction is fina|.

Funher, on December l3, l999, the defendant was convicted of Criminal Sale of a
Controlled Substance in the Third Degree, in violation of New York State Penal Law
Section 220.39, and on that date was sentenced to an indeterminate term of incarceration
of between two and six years. This conviction is final.

Sentencing Stigulations:

The parties agree that the defendant is personally accountable for at least 3.5 kilograms but
less than 5 kilograms of cocaine, in that the defendant was personally involved with that
quantity. 'l`he parties agree that the corresponding base offense level under U.S.S.G. §
ZDI . l (c)(6) is 28.

The government will recommend a 2-leve| downward adjustment to the applicable federal
sentencing guidelines offense level pursuant to U.S.S.G. §3El.l(a) if, (i) through the time
of sentencing, the government is convinced that the defendant has demonstrated
“acceptance of responsibility" for the offense(s) to which the defendant is pleading guilty
and all relevant conduct, as defined in U.S.S.G. § lB l .3; and (ii) the government does not
determine that the defendant, after signing this agreement, committed any other federal,

state, or local crimes, or engaged in conduct that constitutes “obstruction of justice,” as

defined in U.S.S.G. §3Cl.l.

7)

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The government will move for a 1-leve1 downward adjustment to the applicable federal
sentencing guidelines offense level pursuant to U.S.S.G. §3El.l(b) if the government is
convinced that the defendant has accepted responsibility within the meaning of U.S.S.G.
§JEl.l(a) and further assisted authorities in the investigation or prosecution of the
defendant’s own misconduct by timely notifying authorities of the defendant’s intention to
enter a plea of guilty, thereby permitting the government to avoid preparing for trial and
permitting the government and the court to allocate their resources efficiently, and the
defendant otherwise qualifies for such adjustment by having a combined offense level of
16 or more before receipt of any acceptance of responsibility adjustment under U.S.S.G.
§3El.1(a).

Waiver of Rights to Apgea| and Collateral Attack: 'l`he defendant waives (gives up) any

and all rights, including those conferred by 18 U.S.C. § 3742 and/or 28 U.S.C. §§ 2241 and 2255,

to appeal and/or to collaterally attack the following (except that the defendant does not waive the

right to raise a claim based on alleged ineffective assistance of counsel):

=1)
b)
c)
d)
e)
0

g)

The conviction resulting from the defendant’s guilty plea;

Any claim that the statute to which the defendant is pleading guilty is unconstitutional;
Any claim that the admitted conduct does not fall within the scope of the statute;

Any sentence to a term of imprisonment of 120 months or less;

Any sentence to a fine within the maximum permitted by |aw;

Any sentence to a term of supervised release within the maximum permitted by |aw;

Any order of forfeiture or restitution imposed by the Court that is consistent with governing

law and is not contrary to the terms of this agreement.

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Nothing in this appeal waiver is meant to be or should be construed as a representation of or

agreement concerning the appropriate sentence in this case.

 

A. Right to Counse|: The defendant has a right to assistance of counsel in connection with
settlement of this case and understands that right. Defense counsel has advised the defendant
of nature of the charges to which the defendant is agreeing to plead guilty and the range of
possible sentences.

B. Waiver of Trial-Related Rights: The defendant has the following additional constitutional
rights in connection with the charges in this casc: (i) to be presumed innocent until proven
guilty beyond a reasonable doubt; (ii) to plead not guilty; (iii) to trial byjury; (iv) to confront,
cross-examine, and compel the attendance ofwitnesses at trial; (v) to present defense evidence;
and (vi) to remain silent and be protected against compelled self-incrimination The defendant
understands that by pleading guilty, the defendant waives (gives up) these rights.

C. Court Not BotMi bv Plea Agreement: This plea agreement is made pursuant to Ru|e
1 l(c)(l)(A) of the chcral Rules of Criminal Procedure. The Court is neither a party to, nor
bound by this Plea Agreement. The Court may accept or reject this Plea Agreement or defer a
decision until it has considered the Presentence lnvestigation Report prepared by the United
States Probation Office. lf the Court rejects the provisions of this agreement permitting the
defendant to plead guilty to certain charges in satisfaction of other charges, the Court will
permit the defendant to withdraw the plea of guilty before sentencing, pursuant to Fed. R.
Crim. P. l l(c)($) & (d).

D. Court Not Bound by Agreed-Ugon Recommendationsa Stigulationsl and Reguests: 1f this

agreement contains any provisions under Fed. R. Crim. P. ll(c)(l)(B) by which the

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government agrees to recommend, stipulates, or agrees not to oppose the defendant's request,
that a particular sentence or sentencing range is appropriate or that a particular provision of the
federal sentencing guidelines, or a policy statement, or sentencing factor does or does not
apply, such a recommendation, stipulation, or request does not bind the Court, which may
make independent factual findings by a preponderance of the evidence and may reject such
recommendations, requests, and stipulations between the parties. lf the Court rejects one or
more recommendations, stipulations, or requests, the defendant is not entitled to withdraw the
defendant’s plea of guilty and is not released from the obligations described in this agreement

Under such circumstances, the government reserves the right to support and defend, in

connection with any post-sentencing proceedings, any decision the Court may make with

regard to the defendant's sentence, whether or not such decision is consistent with the
government’s recommendations, stipulations, or requests set out in this agreement
E. Sentencing:

a. Maximum terms of imprisonment: The defendant understands that the Court has
discretion to impose a sentence within the statutory maximum sentence(s) set out in this
agreement lf the defendant is pleading guilty to multiple charges, the Court may be
required by law to have the sentences of imprisonment on the convictions resulting from
those charges run consecutively to each other. Otherwise, the Court has discretion to have
sentences of imprisonment run concurrently or consecutively. See 18 U.S.C. § 3584.

b. Mandatory minimum terms of imprisonment: lf specified in this agreement, the
conviction on one or more charges to which the defendant has agreed to plead guilty may
require imposition of a mandatory minimum term of imprisonment ln such cases, the

court must impose a term of imprisonment no less than the required mandatory minimum

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term unless an exception to that requirement applies. Such exception may be dependent

on a motion by the government

c. Section 851 Enhancements: The defendant understands that if the government has filed

an information against the defendant as provided 21 U.S.C. § 851, alleging that the

defendant has one or more final convictions for a felony drug offense, and, as part of this

agreement, the defendant has admitted and/or affirmed that the defendant was so convicted,

then, by pleading guilty, the defendant will lose the right to attack any sentence the court

imposes by challenging any such prior conviction.

d. Sentencing guidelines:

The actual sentence to be imposed upon the defendant is within the discretion of the
sentencing Coun, subject to the statutory maximum and mandatory minimum penalties,
as described above, and the provisions of the Sentencing Refonn Act and the United
States Sentencing Guidelines promulgated thereunder. While the Court is not bound
to impose a sentence within the applicable sentencing guidelines range, it must take
into account the sentencing guidelines, along with the other factors set forth in 18

u.s.c. § 3553(3).

'. Any estimate of the defendant’s offense level, criminal history category, and sentencing

guidelines range provided before sentencing is preliminary and is not binding on the
parties to this agreement, the Probation Oflice, or the Court Until the Probation Office
has fully investigated the defendant’s criminal history, it is not possible to predict with

certainty the defendant's criminal history category and, in some cases, the defendant’s

offense level.

C.

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iii. Under certain circumstances, the defendant’s criminal history may affect the
defendant’s offense level under the federal sentencing guidelines. lf the presentence
investigation reveals that the defendant’s criminal history may support an offense level
different than an offense level stipulated in this agreement, the parties are not bound by
any such stipulation as to the defendant’s offense level and may advocate with respect
to how the defendant’s criminal history affects the offense level.

Factual findings: The defendant understands that the sentencing Court may make factual
findings with respect to any and all sentencing factors and issues, including those
referenced in the United States Sentencing Guidelines, whether or not such factors or issues
have been admitted by the defendant or stipulated by the parties. ln making those findings
by a preponderance of the evidence, the Court may consider any reliable evidence,
including hcarsay. The Defendant understands that the sentence imposed may be
determined based upon suchjudicia| fact-finding.

Use of the Defendant’s Statements: The defendant understands that the sentencing court

may consider any statement that the defendant has made or makes in this Plea Agreement

during the guilty plea, to the Probation Office, and at sentencing when imposing sentence.
1n addition the government may be able to use the defendant’s statements in this agreement
and at the guilty plea and at sentencing in any crimina|, civil, or administrative proceeding.

For example, if the defendant fails to enter a guilty plea (as required by this agreement) or

the defendant’s guilty plea is later withdrawn or vacated for any reason other than the

Court`s rejection of this Plea Agreement under Fed. R. Crim. P. 1 l(c)($), the government

may introduce the defendant’s statements into evidence in any prosecution lf, however,

the Court rejects this Plea Agreement under Fed. R. Crim. P. l l(c)($), and the defendant

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withdraws the guilty plea pursuant to Fed. R. Crim. P. l 1(d)(2)(A), the government will
not be permitted to use any of the defendant’s statements in this Plea Agreement To the
extent that Rule l l(f) of the Federal Rules of Criminal Procedure and/or Rule 410 of the
Federal Rules of Evidence are inconsistent with this paragraph, the defendant waives (gives
up) any protections under those rules.

Government’s Discretion to Recommend a Sentence: Unlcss a stipulation in this
agreement explicitly limits the govemment’s discretion with respect to its
recommendations at sentencing, this agreement does not prevent the government from
urging the sentencing Court to lind that a particular offense level, criminal history category,
ground for departure, or guidelines range applies; from recommending a specific sentence
within the applicable guidelines range as determined by the Court or as urged by the
government; or, if the government deems appropriatc, recommending that the Court
impose a sentence above the applicable guidelines range.

Sentencing~Related lnformation: 'l`he government has the rigltt to advise the sentencing
Court and the Prohation Ol`fice of any infonnation, in aggravation or mitigation of
sentencing, whether or not encompassed within the count(s) to which the defendant has
agreed to plead guilty, subject only to the limitation described in U.S.S.G. §lBl.8. No
stipulation in this plea agreement limits the obligations of both parties to ensure that the
sentencing Court has all information pertinent to its determination of an appropriate
sentence. The parties may provide any factual information relevant to sentencing to the
Probation Office and/or to the Court, without limitation, before or alter the completion of

the Presentence lnvestigation Report. The parties agree that the submission of such

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information shall not be deemed “advocacy” in violation of any stipulation in this plea
agreement

Supervised Release Term and Conditions: lf the defendant is placed on supervised
release, under some circumstances, including the defendant’s violation of one or more
supervised release conditions, the Court may extend the term of supervised release, and

may modify, reduce, or enlarge the conditions ofsuch release.

F. Other Adverse Conseguences: 'I`he following are some examples of the adverse

consequences of pleading guilty other than the sentence imposed by the Court, along with any

judicial order of forfeiture and/or restitution:

3.

Conviction ofa felony may result in the loss ofcivil rights, including, but not limited to,
the right to vote and the right to possess firean'ns.

1fthe defendant is not a United States citizen, such conviction may result in deportation or
removal from the United States, may bar readmission to the United States if the defendant
leaves the country, and may result in a denial of a pending or future application for
citizenship. lf the defendant is a naturalized citizen, such conviction may result in
denaturalization, followed by deportation or removal f`rom the United States. Under federal
|aw, removal or deportation may be an almost certain consequence of a conviction for a
broad range of federal offenses, including, but not limited to, aggravated felonies, as
defined in 8 U.S.C. § 1101(a)(43), and crimes of moral turpitude, which includes crimes
involving fraud. Removal and other immigration consequences are the subject of a
separate proceeding No one, including the defendant’s attorney and the Court, can predict
with certainty the effect of the conviction resulting from this agreement on the defendant’s

immigration status. The defendant understands this uncertainty and nonetheless wishes to

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plead guilty regardless of any immigration consequences that the guilty plea may entail,
even if the consequence is the defendant’s automatic removal from the United States.

c. A felony conviction may adversely affect the defendant’s ability to hold certain
professional licenses and may impair the defendant’s ability to do business with federal,

state, and local governments or to receive benefits from such governments

There may be other adverse consequences as well, some of them unforeseeable lt may be
difficult or impossible to predict all of the adverse consequences of the defendant’s guilty
plea. The defendant agrees that any resulting adverse consequences, whether or not
foreseen or foreseeable, will not provide a basis for withdrawing from the guilty plea
described in this agreement or otherwise challenging the resulting conviction and sentence.

G. Restitution: lndependent of any agreement to pay restitution, and whether there is any such
agreement, the sentencing Court may be required to order that the defendant pay restitution to
any victim of the offense(s) of conviction under the Mandatory Victim Restitution Act, 18
U.S.C. § 3663A. ln addition, the sentencing Court may have the authority to order that the
defendant pay restitution to any victim ofthe offense(s) of conviction pursuant to 18 U.S.C.
§§ 3663 & 3664. ln any case involving a conviction fora sexual exploitation offense in chapter
l 10 of title 18 of the United States Code, the Court must order restitution for the full amount
of the victim's losses as determined by the court. The victim's losses include, but are not limited
to medical services related to physical, psychiatric, or psychological care; physical or
occupational therapy or rehabilitation; necessary transportation, temporary housing, and child

care expenses; lost income; attomey's fees and other costs; and any other losses suffered by

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the victim as a proximate result of the offense. The restitution payment will be in addition to

any other civil or criminal penalty authorized by law.

H. Forfeiture: lf the defendant has agreed to forfeiture of assets, the defendant agrees to the

following terms and conditions:

a.

C.

The defendant hereby forfeits, to the United States, all right, title, and interest of any nature
in any and all assets that are subject to forfeiture, including substitute assets, as set forth
above, whether those assets are in the possession or control of the defendant, a nominee,
or some other third party.

The defendant consents to the entry of an order of forfeiture of the assets described above,
The defendant is aware that pursuant to Rule 32.2(b)(4)(A) of the Federal Rules of Criminal
Procedure, a preliminary order of forfeiture becomes final as to a given defendant at
sentencing or at any time before sentencing if the defendant consents. The defendant
consents that the preliminary order of forfeiture in this case shall become final as to the
defendant before sentencing, as of the date the preliminary order of forfeiture is entered by
the Court. The defendant understands that the government, upon entry of the preliminary
order of forfeiture, will address any potential third party claims pursuant to Rule 32.2(c),
and seek to finalize forfeiture,

Forl`eiture ofthe defendant’s assets will not satisfy all, or any portion of, a flne, restitution,
or other monetary penalty that the Court may impose upon the defendant in addition to
forfeiture, Satisfaction of all, or any portion of, any restitution, tine, or other penalty that
the Court may impose upon the defendant in addition to forfeiture will not satisfy all, or

any portion of, any forfeiture judgment ordered by the Court.

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In the event that any successful claim is made, by any third party, to the assets described
above, the defendant agrees to forfeit substitute assets equal in value to the assets
transferred to any such third party. The defendant agrees that forfeiture of substitute assets
shall not be deemed an alteration of the Defendant’s sentencc.

The defendant agrees to cooperate with the United States by taking whatever steps are
necessary to pass clear title to the United States of any forfeitable assets, including but not
limited to, surrendering title; completing any documents or legal proceedings required to
transfer assets to the United States; and taking necessary steps to ensure that assets subject
to forfeiture are not sold, disbursed, expended, destroyed, damaged, hidden or otherwise
made unavailable for forfeiture or removed beyond thejurisdiction of the Court.

The defendant waives the right to a jury trial on the forfeiture of assets. The defendant
waives all constitutional, legal, and equitable defenses to the forfeiture of assets, as
provided by this agreement, in any proceeding, including but not limited to any jeopardy
defense or claim of doublejeopardy or any claim or defense under the Eighth Amendment
to the United States Constitution, including any claim of an excessive fine.

The defendant acknowledges that the government may institute civil or administrative
proceedings against any or all of the defendant’s forfeitable assets, including, but not
limited to substitute assets and any forfeitable assets not identified by the defendant, and
agrees not to contest any such forfeiture proceedings

The defendant represents and warrants that the defendant has no direct or indirect interest

in any property, real or personal, or other asset subject to forfeiture by virtue of this plea

agreement, other than those listed above.

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ln the event the government determines that the defendant has breached any condition of
this plea agreement, none of the forfeited property shall be returned to the defendant, nor
shall the defendant assert any claim to the forfeited property. The defendant shall not
reacquirc any forfeited property, directly or indirectly, through family members, nominees,

friends, or associates.

l. Determination of Financial Condition and Payment of Interest and Penalties:

a.

d.

ln order to facilitate the collection of financial obligations to be imposed in connection
with this prosecution, the defendant agrees fully to disclose all assets in which the
defendant has any interest or over which the defendant exercises control, directly or
indirectly, including those held by a spouse, nominee, or other third party.

The defendant will promptly submit a complete, accurate, and truthful financial statement
to the United States Attomey‘s Office, in a form it provides and as it directs.

The defendant authorizes the United States Attorney’s Office to obtain a credit report on
the defendant in order to evaluate the defendant’s ability to satisfy any financial obligation
imposed by the Court.

lnterest and penalties may accrue, as a matter of law, on any unpaid financial obligation

imposed as part of the defendant’s sentence, from as early as the date of sentencing.

J. Remedies for Breach:

a.

Should the government determine that the defendant, after the date the defendant has
signed this plea agreement, (i) has committed any further crime or violated any condition
of release or supervision imposed by the Court (whether or not charged); (ii) has given
false, incomplete, or misleading testimony or information; or (iii) has moved to withdraw

the defendant’s guilty plea for reasons other than those described in this agreement or

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otherwise has breached any term or condition of this plea agreement or supplemental

agreements with the government, the government will have the right, in its sole discretion,

to void this agreement, in whole or in part. In the event of such breach, the defendant will

remain obligated to plead guilty and otherwise comply with the terms of this agreement

and will not be permitted to withdraw the defendant's guilty plea under this agreement,

The defendant will be subject to prosecution for any federal criminal violation of which

the government has knowledge, including but not limited to charges that this Office has

agreed to dismiss or not to prosecute under this agreement,

lf the defendant breaches this agreement, the government will have the following remedies,

among others, available to it:

lll.

'l`o bring prosecution for any federal criminal offenses dismissed or not prosecuted
under this agreement. 'I`he defendant waives (gives up) any defense or objection to the
commencement of any such prosecution that is not time~barred by the applicable statute
of limitations as of the date on which the defendant signed this plea agreement,
notwithstanding the expiration of the statute of limitations between the signing of the

agreement and the commencement of any such prosecution.

. ln connection with any such prosecution, any information, statement, and testimony

provided by the defendant, and all leads derived therefrom, may be used against the
defendant, without limitation and without regard to any rights the defendant may have
under Fed. R. Crim. P. ll(f) and Fed. R. Evid. 410.

To utilize any information, statement, or testimony provided by the defendant in any

proceeding, including at sentencing, notwithstanding U.S.S.G. §lBl.8;

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iv. 'I`o advocate if, and how, any particular adjustment or specific offense characteristic
affects the applicable Sentencing Guidelines range without regard to any contrary
stipulations contained in this agreement;

v. To refrain from making any sentencing-related motion favorable to the defendant
without regard to any provision in this agreement obligating the government to consider
making or make such motion upon fulfillment of certain conditions;

vi. To urge the sentencing Court to take the defendant’s breach into account when
imposing sentence;

vii.To recommend any sentence the government deems appropriate, even if such
recommendation is at odds with any stipulation in this agreement

K. Limitations: This agreement is between the United States Attorney's Offtce for the Northem
District of New Vork and the defendant. References to “the government" in this agreement
refer only to that Office. This agreement does not bind any other federal, state, or local
prosecuting authorities Furthermore, this agreement does not prohibit the United States, any
agency thereof, or any third party from initiating or prosecuting any civil or administrative
proceedings directly or indirectly involving the defendant, including, but not limited to,
proceedings by the lntemal Revenue Service relating to potential civil tax liability, proceedings
relating to the forfeiture of assets, and proceedings by the Department of Homeland Security,
Bureau of Citizenship and lmntigration Services relating to the immigration status of the
defendant.

L. Agreement Must be Signed; Moditieations Must be Written or on the Record: This
agreement, to become effective, must be signed by all of the parties listed below. No promises,

agreements, terms, or conditions other than those set forth in this plea agreement will be

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effective unless memorialized in writing and signed by all parties or confirmed on the record
before the Court.

M. Agreement to Plead Guilg Voluntag: The defendant acknowledges reading each of the
provisions of this plea agreement with the assistance of counsel and understands its provisions.
The defendant further acknowledges that the defendant’s agreement to plead guilty is voluntary
and did not result from any force, threat, or promises (other than the promises in this plea

agreement and any written supplemental agreements or amendments).

GRANT C. JAQUITH
United States Attomey

QLJM a-,/ia/le

Assistant United States Attomey §le/ F)VYU drg Date
Bar Roll No. 5¢90@5

f>a:w UAY _ tel // / /?
Jose O@i§ Date ' '
Defendant

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Name of Defense Attomey @,,,, 3 ,M,¢a Date
Attorney for Defendant
Bar Roll No. 5'°1 fig

 

 

 

 

